                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                   1:05CR234-1


UNITED STATES OF AMERICA,                              )
                                                       )
Vs.                                                    )               ORDER
                                                       )
BARBARA SUE BROWN.                                     )
                                                       )
______________________________________                 )


        THIS MATTER coming on upon the court’s own motion regarding evaluations completed

regarding the above referenced defendant by the United States Department of Justice, Federal Bureau

of Prisons, and it appearing to the court from a review of the reports that the reports should be placed

under seal pending further orders of the court.

        IT IS FURTHER ORDERED that the reports entitled “Competency to Stand Trial

Evaluation” and “Criminal Responsibility Evaluation” s hall be placed under SEAL and filed in this

file and that copies of the report shall be provided to the defendant’s counsel and to the Assistant

United States Attorney’s responsibility in this matter.

                                                       Signed: February 1, 2006




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